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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

 WAKEESHA N. MOODY,
                                                                      NOTICE OF MOTION
                                                       Plaintiff,    FOR LEAVE TO FILE A
                                                                           SURREPLY
                   v.                                                     Civil Action No.
                                                                    6:07-cv-06398 (MAT/MWP)
 CSX TRANSPORTATION, INC. et al.,

                                                    Defendants.




           PLEASE TAKE NOTICE that Defendants CSX Transportation Inc., New York Central

Lines, LLC, and NYC Newco, Inc. will move this Court, at a date and time to be set by the

Court, for an order granting them leave to file the attached Surreply in opposition to Plaintiff

Wakeesha Moody's motion for spoliation sanctions, which is supported by Defendants' Motion

for Leave to File a Surreply. In seeking this leave, CSXT asks for the opportunity to address

certain points addressed in Plaintiffs Reply to Defendants' Opposition to the Motion for

Spoliation Sanctions.

DATED:             Buffalo, New York
                   June 8, 2016
                                              NIXON PEABODY LLP

                                              By: /s/ Laurie Stvka Bloom
                                                 Laurie Styka Bloom, Esq.
                                                 Susan C. Roney, Esq.
                                                 Lynnette Nogueras-Trammer. Esq.
                                              Attorneys for Defendants
                                              Key Towers at Fountain Plaza
                                              40 Fountain Plaza, Suite 500
                                              Buffalo, New York 14202
                                              Telephone: (716) 853-8100
                                              E-mail: lbloom@nixonpeabody.com




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